Case 3:20-cv-19805-GC-DEA Document 139 Filed 10/17/22 Page 1 of 3 PageID: 5052



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 October 17, 2022



 VIA ECF
 Honorable Georgette Castner
 Honorable Douglas E. Arpert
 United States District Court
 District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, New Jersey 08608

 Re:    Aurinia Pharmaceuticals Inc. v. Sun Pharmaceutical Industries, Inc. et al.,
        3:20-cv-19805-GC-DEA

 Dear Judge Castner and Judge Arpert:

         Plaintiff Aurinia Pharmaceuticals Inc. (“Aurinia”) respectfully requests that the Court enter
 (1) a date for the Markman hearing; and (2) an amended Scheduling Order in the above-referenced
 action.

         Markman Hearing. The Markman Hearing was originally set to occur on or about April
 28, 2022, subject to the Court’s availability (D.I. 28). On April 11, 2022, the case was reassigned
 to the Honorable Judge Georgette Castner (D.I. 71), and the Court thereafter advised the parties
 that the Markman hearing would be rescheduled after the pending dispute between the parties as
 to whether there should be additional depositions and supplemental claim construction briefing
 was resolved. This issue has been fully briefed and is ready for the Court’s resolution and setting
 of a date for the Markman hearing (D.I. 66, D.I. 68, D.I. 75).

         Amended Scheduling Order. Fact discovery closed on September 30, 2022.1 Under the
 Scheduling Order (D.I. 28), the deadline to serve opening expert reports on issues for which a party
 bears the burden of proof was August 4, 2022. This action is unable to proceed, however, because
 the parties have submitted competing proposals for the start of expert discovery (D.I. 110, D.I.
 111). This dispute centers on whether expert discovery should be set from the date that fact
 discovery closes as contemplated under the Scheduling Order or stayed until the Court issues a
 Markman Order. Aurinia respectfully requests that the Court order an amended case schedule to
 resolve this issue and permit the case to proceed without further delay. The proposed case schedule
 is provided below. The parties agree on the timing of all case schedule events with the exception
 of opening expert reports.



 1
  The Court granted the parties leave to take two depositions after the stipulated September 30,
 2022 fact discovery cut-off (D.I. 135, D.I. 137).
Case 3:20-cv-19805-GC-DEA Document 139 Filed 10/17/22 Page 2 of 3 PageID: 5053




     EVENT                    CURRENT                  AURINIA’S               SUN’S [PROPOSED]
                              DEADLINE                 [PROPOSED]              DEADLINE
                              (D.I. 28)                DEADLINE
     Opening Expert Reports   August 4, 2022           November 29, 2022       60 days after the last
                                                                               of: all fact discovery
                                                       (60 days after close    disputes are resolved,
                                                       of fact discovery)2     fact depositions are
                                                                               complete, and a
                                                                               Markman order has
                                                                               issued

     Responsive Expert        September 1, 2022        30 days after opening expert reports
     Reports

     Reply Expert Reports     September 29,            30 days after responsive expert reports
                              2022

     Close of Expert          November 3, 2022         4 weeks after reply expert reports
     Discovery

     Dispositive Motions      December 1, 2022         4 weeks after the close of expert discovery

     Oppositions to           December 22,             3 weeks after dispositive motions
     Dispositive Motions      2022

     Reply to Dispositive     January 12, 2023         3 weeks after responsive briefs on dispositive
     Motions                                           motions

     Dispositive Motions      On or about              Approximately 4 weeks after reply briefs on
     Hearing                  February 9, 2023         dispositive motions, subject to Court’s
                              subject to Court’s       availability
                              availability

     Pretrial Conference      On or about March Approximately 4 weeks after hearing on
                              2023 subject to   dispositive motions, subject to Court’s
                              Court’s           availability
                              availability

     Trial                    On or about March Approximately 4-6 weeks after pretrial
                              2023 subject to   conference, subject to Court’s availability
                              Court’s
                              availability


 2
  Aurinia initially proposed a deadline of one month after close of fact discovery (D.I. 111), but is
 amenable to a deadline for opening expert reports that is 60 days after the stipulated September
 30, 2022 close of fact discovery.
                                                   2
Case 3:20-cv-19805-GC-DEA Document 139 Filed 10/17/22 Page 3 of 3 PageID: 5054




        We thank the Court for its consideration in this matter.


 Respectfully submitted,

 /s/ Lesley McCall Grossberg
 Lesley McCall Grossberg

 cc: All Counsel of Record (via ECF)




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